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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

In Re:      Oil Spill by the Oil Rig           ]                      MDL No. 2179
            “Deepwater Horizon” in the         ]
            Gulf of Mexico, on April 20, 2010  ]                      SECTION: J
                                               ]
                                               ]                      Judge Barbier
This Document Relates to: 2:12-cv-1045-CJB-JCW ]                      Mag. Judge Wilkinson
                                               ]

         MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION TO STRIKE
             CERTAIN AFFIRMATIVE DEFENSES UNDER RULE 12(f)

1.       SUMMARY.

         Plaintiff Dennis Prejean (Prejean) brought this collective action against O’Brien’s

Response Management, Inc. (O’Brien’s) for failing to pay him and similarly situated employees

overtime pay under the Fair Labor Standards Act (FLSA). O’Brien’s raised twenty-three

affirmative defenses in its Answer. See Doc. 6663 at pp. 5-9. However, O’Brien’s failed to

plead any facts to support its affirmative defenses. Further, some of O’Brien’s affirmative

defenses are insufficient as a matter of law. Because O’Brien’s affirmative defenses do not meet

the applicable pleading standards, Prejean moves to strike under FRCP 12(f).

2.       THE PLEADING STANDARDS.

         “An affirmative defense is subject to the same pleading requirements as is the

complaint.” Woodfield v. Bowman, 193 F.3d 354, 362 (5th Cir. 1999). “A Defendant must

‘plead an affirmative defense with enough specificity or factual particularity to give the plaintiff

‘fair notice’ of the defense that is being advanced.” Rogers v. McDorman, 521 F.3d 381, 385

(5th Cir. 2008) (quoting Woodfield, 193 F.3d at 362). This requires pleading enough facts for the

affirmative defense to meet Twombly’s “plausibility” standard. See, e.g., Tracy ex rel. v. NVR,




                                                                                       Exhibit 1
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Inc., 2009 WL 3153150, at *7 (W.D.N.Y. Sept. 30, 2009) (collecting cases);1 Thus, the standard

for striking an affirmative defense is the “mirror image” of the standard for dismissal for failure

to state a claim. See, e.g., Desperado Motor Racing & Motorcycles, Inc. v. Robinson, 2010 WL

2757523, at *2 (S.D. Tex. July 13, 2010); Doe v. Roman Catholic Diocese of Galveston-

Houston, 2006 WL 2413721, at *2 (S.D.Tex. Aug 18, 2006) (citing cases).

        In determining whether a pleading is sufficient, “all facts pleaded … must be taken as

true.” Collins v. Morgan Stanley, 224 F.3d 496, 498 (5th Cir. 2000). However, “the tenet that a

court must accept as true all of the allegations contained in a [pleading] is inapplicable to legal

conclusions.” Ashcroft v. Iqbal, 129 S.Ct. 1937, 1949 (2009). It is the factual allegations that

matter; mere labels and conclusions, or a formulaic recitation of the elements, are insufficient.

Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). An affirmative defense “must be

dismissed for failure to state a claim if the [defendant] fails to plead ‘enough facts to state a

claim to relief that is plausible on its face.’” Crumbley v. Gannon, 2008 WL 2894828, at *2

(S.D. Tex. July 22, 2008) (quoting Twombly, 550 U.S. at 570).

        An affirmative defense must also be legally sufficient. Kaiser Aluminium & Chemical

Sales, Inc. v. Avondale Shipyards, Inc., 677 F.2d 1045, 1057 (5th Cir. 1982), cert. denied, 459

U.S. 1105 (1983). A defense is insufficient as a matter of law if the defendant’s allegations –

even if true - would not constitute an affirmative defense. E.E.O.C. v. First Nat’l Bank of

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         Burns v. Dodeka, LLC, 2010 WL 1903987, at *1 (N.D.Tex. May 11, 2010) (affirmative defenses must meet
Twombly’s standard); Sun Microsystems, Inc. v. Versata Enter., Inc., 630 F.Supp.2d 395, 404 (D.Del.2009) (same);
Aspex Eyewear, Inc. v. Clariti Eyewear, Inc., 531 F.Supp.2d 620, 622 (S.D.N.Y.2008) (same); Greenheck Fan Corp.
v. Loren Cook Co., 2008 WL 4443805, *1-2, report and recommendation adopted by 2008 WL 4756484
(W.D.Wis.2008) (same); Stoffels ex rel. SBC Tel. Concession Plan v. SBC Commc'ns, Inc., 2008 WL 4391396, *1-2
(W.D.Tex.2008) (same); United States v. Quadrini, 2007 WL 4303213, *4-6 (E.D.Mich.2007) (same); Home Mgmt.
Solutions, Inc., v. Prescient, Inc., 2007 WL 2412834, *3 (S.D.Fla.2007) (same); see also Dawes-Ordonez v.
Forman, 2009 WL 3273898, at *2 (S.D.Fla. Oct. 9, 2009) (same); In re Mission Bay Ski & Bike, Inc., 2009 WL
2913438, *6 (Bkrtcy. N.D. Ill, Sep. 9, 2009) (same); Gonzalez v. Spears Holdings, Inc., 2009 WL 2391233, at *1
(S.D.Fla. July 31, 2009) (same); T-Mobile USA, Inc. v. Wireless Exclusive USA, LLC, 2008 WL 2600016, at *2
(N.D.Tex. July 1, 2008) (same); Safeco Ins. Co. of Am. v. O'Hara Corp., 2008 WL 2558015, at *1 (E.D. Mich. June
25, 2008) (same); Holtzman v. B/E Aerospace, Inc., 2008 WL 2225668, at *2 (S.D.Fla. May 29, 2008) (same).


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Jackson, 614 F. 2d 1004, 1008 (5th Cir. 1980). “Where the defense is insufficient as a matter of

law, the defense should be stricken to eliminate the delay and unnecessary expense from

litigating the invalid claim.” Federal Deposit Ins. Corp. v. Eckert Seamans Cherin & Mellott,

754 F.Supp. 22, 23 (E.D.N.Y.1990) (emphasis added).

3.      SEVERAL OF O’BRIEN’S AFFIRMATIVE DEFENSES SHOULD BE STRICKEN.

       A.      O’Brien’s ‘Good Faith’ and ‘Reliance on an Administrative Ruling’ Defenses
               Contain No Factual Support.

       In its fourth and sixth and twelfth affirmative defenses, O’Brien’s suggests its actions

were undertaken in good faith and with reasonable grounds for believing the conduct did not

violate the FLSA. See Doc. 6663 at pp. 5-6, 7. However, this is simply a recitation of the

elements of a “good faith” defense under the FLSA. See, e.g., 29 U.S.C. § 260 (employer may

avoid liquidated damages by showing it acted “in good faith and [with] reasonable grounds for

believing that [its] act or omission was not a violation” of the FLSA); Singer v. City of Waco,

Texas, 324 F.3d 813, 823 (5th Cir. 2003). O’Brien’s further alleges in its twelfth affirmative

defense that its actions were “in conformity with and in reliance on written interpretationss of the

FLSA promulgated by the Secretary of Labor, and Defendant therefore has a complete

defense[.]” See Doc. 6663 at p. 7. This is another repeat of the statute, specifically Section 259

of the FLSA. See 29 U.S.C. § 259. Such “[t]hreadbare recitals of the elements of [an affirmative

defense], supported by mere conclusory statements, do not suffice.” Iqbal, 129 S.Ct. at 1949

quoting Twombly, 550 U.S. at 555.

       Even if O’Brien’s were to have a valid defense based on good faith or reliance on an

administrative ruling, it must know “the bases for [its] affirmative defenses that [it] relied on a

regulation, order, ruling, approval, or interpretation of the Wage and Hour Division and that [it]

acted in good faith.” Tran v. Thai, 2010 WL 723633, at *2 (S.D.Tex. March 1, 2010) (striking



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defenses based on good faith and reliance on an administrative ruling in an FLSA case).

Nonetheless, O’Brien’s does not identify any efforts it undertook to ascertain the FLSA’s

requirements. Barcellona v. Tiffany English Pub, Inc., 597 F.2d 464, 468 (5th Cir.1979) (good

faith requires an investigation into the FLSA’s requirements). Nor does O’Brien’s state how it

interpreted the FLSA, why its interpretation is reasonable or identify any administrative ruling

upon which it relied. Singer, 324 F.3d at 823. In sum, O’Brien’s conclusory assertions of “good

faith” and “reliance on an admintrative ruling” are insufficient to make these defenses plausible.

Tran, 2010 WL 723633, at *2; Iqbal, 129 S.Ct. at 1949 (2009) (quoting Twombly, 550 U.S. at

555). O’Brien’s must provide some factual basis for its defenses based on alleged “good faith”

and “reliance on an administrative ruling.”

       B.      Bald Assertions Like “Accord and Satisfaction” and “Waiver” Are
               Insufficient.

       Simply naming “broad affirmative defenses” such as “accord and satisfaction,” and

“waiver and/or release” etc. do not satisfy the requirements of Rule 8. See, e.g., Woodfield, 193

F.3d at 362. “This method of pleading defenses is unacceptable and indeed was unacceptable

well before Iqbal and Twombly.” In re Mission Bay Ski & Bike, Inc., 2009 WL 2913438, at *6

(Bkrtcy.N.D.Ill. Sept. 9, 2009). Nonetheless, O’Brien’s Answer is littered with factually

unsupported, bald assertions as summarized in the chart below:

               Name of Defense:                              Number:

               Unclean Hands                                 Thirteenth

               Estoppel                                      Fourteenth

               Ratification / Consent                        Fifteenth

               Waiver, Discharge, Abandonment                Sixteenth

               Credit / Setoff                               Seventeenth



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               Uncompensable Time                              Eighteenth

               Payments by Third Parties                       Twenty-first

See Doc. 6663 at pp. 7-8. Because none of these “affirmative defenses” contain any factual basis

whatsoever, they do not provide Prejean with the fair notice required by Rule 8.

       Defendants’ failure to plead any facts supporting their “waiver,” “discharge,”

“abandonment,” “estoppel,” “ratification” and “consent” defenses are particularly telling because

these defenses are generally inapplicable to FLSA claims. See, e.g., Barrentine v. Arkansas-

Best Freight System, Inc., 450 U.S. 728, 740 (1981) (“FLSA rights cannot be abridged by

contract or otherwise waived”); Brooklyn Sav. Bank v. O’Neill, 324 U.S. 697, 706 (FLSA does

not permit employee to waive statutory wages and liquidated damages); Gonzalez v. Spears

Holdings, Inc., 2009 WL 2391233, at *3 (S.D.Fla. July 31, 2009) (noting the “doctrines of

waiver, estoppel, laches, and accord and satisfaction, however, are generally not applicable to

FLSA claims” and striking those defenses) (citing cases). Without any factual assertions

suggesting how or why Plaintiffs’ FLSA claims are barred, O’Brien’s affirmative defenses fail to

state a “plausible claim for relief.” Therefore, O’Brien’s must provide some factual support for

their affirmative defenses (or remove them).

       C.      O’Brien’s Reservation of Rights Defense Is Insufficient.

       For a defense to be viable, it must “respond to the allegations of the complaint” and raise

facts that would, if true, “vitiate plaintiff’s claims.” Ayers v. Consol. Constr. Servs. of SW

Florida, Inc., 2007 WL 4181910, at *2 (M.D.Fla. Nov. 26, 2007) (striking reservation of right to

demand attorney’s fees). Defenses must also be set forth in the pleadings. Fed. R. Civ. P. 8.

O’Brien’s asserts, as an affirmative defense, that it “reserves the right to raise and assert such

additional defenses once such additonal defenses have been ascertained.” Doc. 6663 at p. 9.




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O’Brien’s reservation of rights clause is “insufficient as a matter of law” because it fails to

respond to any of Prejean’s claims or raise facts that negate them. Curry v. High Springs Family

Practice Clinic & Diagnosis Ctr. Inc., 2008 WL 5157683 (N.D. Fla. Dec. 9, 2008).

Accordingly, O’Brien’s twenty-third affirmative defense to reserve the right to assert more

defenses should be stricken.

4.      CONCLUSION.

        O’Brien’s is required to plead in accordance with the standards set by the Supreme Court

and the Fifth Circuit. Because it failed to do so, O’Brien’s first, forurth, sixth, twelfth, thirteenth,

fourteenth, fifteenth, sixteenth, seventeenth, eighteenth, twenty-first, twenty-second and twenty-

third affirmative defenses should be stricken.

                                                Respectfully submitted,

                                                BRUCKNER BURCH PLLC

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                                  CERTIFICATE OF SERVICE

        I hereby certify that the above and foregoing Plaintiff’s Memorandum in Support of
Plaintiff’s Motion to Strike Certain Affirmative Defenses Under Rule 12(f) has been served on
all counsel by electronically uploading the same to Lexis Nexis File & Serve in accordance with
Pretrial Order No. 12, and that the foregoing was electronically filed with the Clerk of Court of
the United States District Court for the Eastern District of Louisiana by using the CM/ECF




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System, which will send a notice of electronic filing in accordance with the procedures
established in MDL 2179, on this 5th day of July, 2012.


                                              /s/ David I. Moulton
                                              ______________________________
                                              David I. Moulton




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